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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 16-3714-GW (AGRx)                                           Date     June 29, 2017
 Title             The California Institute of Technology v. Broadcom Limited, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                          Katie Thibodeaux
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                       Todd M. Briggs                                         James P. Dowd
                      James R. Asperger                                     Richard Goldenberg
                         Ron Hagiz                                           Aaron Thompson
                                                                             Mark D. Selwyn
 PROCEEDINGS:                   MARKMAN HEARING


The Court’s Tentative Ruling is circulated and attached hereto. Court hears oral argument. For reasons
stated on the record, the Markman Hearing is TAKEN UNDER SUBMISSION. Counsel will file their
joint submission by July 10, 2017. Court to issue ruling.




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                                                               Initials of Preparer   JG
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